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IN THE UNITED sTATF.s DISTRIcT coURT F"'ED B" “~Y D~C-
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 05 AUG '9 PH 3= 35

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IOLA FORD, et al.,
Plaintiffs,
v.

NO. 05-2320 Ma/V

EVANS DELIVERY, et al.,

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Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court is defendant Evans Delivery’e July 6, 2005,
motion to diemiss. Plaintiffs have not yet responded to the motion
and the time for response has passed. Plaintiffs are hereby ordered

to show cause within eleven (ll) days from the date of this order

So ordered this {qM`

day of August 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02320 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

R. Scott McCullough

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Honorable Samuel Mays
US DISTRICT COURT

